           Case 2:24-cr-00091-ODW             Document 125 Filed 09/09/24          Page 1 of 1 Page ID
                                                      #:1498
                                    UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA
                                          CRIMINAL MINUTES - GENERAL




 Case No.       CR 24-00091-ODW                                                       Date   September 9, 2024


 Present: The
 Honorable                   OTIS D. WRIGHT II, UNITED STATES DISTRICT JUDGE
 Interpreter

                                                                                Sean F Mulryne/ Leo J. Wise/
            Sheila English                        Court Smart                       Christopher Rigali/
            Deputy Clerk                  Court Reporter/Recorder                  Assistant U.S. Attorney


                                                                            Attorneys for
 U.S.A. v. Defendant(s):            Present          Cust.      Bond                               Present App. Ret.
                                                                            Defendants:

                                                                       David Z Chesnoff/ Naser
                                                                       J. Khoury/ Richard A
Alexander Smirnov                     X               X                Schonfeld                        X               X


 Proceedings:       MOTIONS HEARING

         Case called, appearances made. The Court having carefully considered the papers and the
         evidence submitted by the parties, and having heard the oral argument of counsel. The Court
         rules as follows:

         -MOTION for Order for Access to CIPA § 4 Filing [98]- DENIED

         -MOTION for Protective Order Pursuant to Section 3 of CIPA[96]- GRANTED




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                                                                 Initials of Deputy           se
                                                                              Clerk




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